                                                                               Case 1:03-md-01570-GBD-SN Document 8597-1 Filed 09/30/22 Page 1 of 1
                                                                                                                             Ex. A-1
                                                                           Estate of John Patrick O’Neill, Sr., et al. v. The Republic of Iraq, et al., No. 1:04-cv-01076 (GBD) (SN)
                                                                                                     (Alphabetically by Last Name of 9/11 Decedent)

                                                                                   Case
                                                                                                            Name
                                                                                   Name
                                                                                                           Under
                                                                                    and       Date of                                Plaintiffs'
                                                                                                           Which       MDL ECF
                                                                                   Case        Prior                                 Cause of       Location                                  Total      Total Pain and    TOTAL
    Plaintiff   Plaintiff   Plaintiff                               Plaintiff's                          Judgment        No. of                                                                                                           Treble
                                        Plaintiff                                 Number     Damage                                  Action for      Where       Injury      Severity of   Economic        Suffering       Damage
     First      Middle       Last                   Relationship    Nationality                              Was       Complaint                                                                                                         Damage
                                         Suffix                                   of Prior   Award(s)                                Damages         Injury     Category       Injury       Damages        Damages         Amount
     Name        Name        Name                                   on 9/11/01                           Previously     Against                                                                                                         Amount ($)
                                                                                  Damage     Against                                  Against       Occurred                               Amount ($)     Amount ($)         ($)
                                                                                                          Entered       Taliban
                                                                                  Award(s)     Iran                                   Taliban
                                                                                                              (if
                                                                                  Against
                                                                                                          different)
                                                                                    Iran
                                                                                                                                                     World
                                                                                                                                      Common
1    Manu                   Dhingra                 Self (Injury)      India        N/A        N/A          N/A           8017                       Trade         Burn      Devastating   $255,582.00                    $255,582.00      N/A
                                                                                                                                        Law
                                                                                                                                                     Center




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